PAUL J. FISHMAN
United States Attorney
By: J. ANDREW RUYMANN
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                 UNITED STATES DISTRICT COURT
                   DISTRICT OF NEW JERSEY


ASHLEY GREMMINGER and JULIO   :
CEZAR RIVAS,                  :
                              :
     Plaintiff,               :   Hon.
                              :
     v.                       :   Civ. Action No.
                              :
MONMOUTH FAMILY HEALTH CARE   :
CENTER, INC., MONMOUTH        :
MEDICAL CENTER, NATALYA P.    :
KUGAY, M.D., MARANATHA        :
LOUGHEED, M.D., AND JOHN DOE :
#1-20 (FICTITIOUS NAMES BEING :
UNKNOWN),                     :
                              :   NOTICE OF REMOVAL AND
     Defendants.              :   SUBSTITUTION OF UNITED STATES
                              :   OF AMERICA FOR DEFENDANT
                              :   MONMOUTH FAMILY HEALTH CARE
                              :   CENTER, INC.
                              :
                              :   Document Electronically Filed


TO:   Clerk, Civil Part
      Superior Court of New Jersey
      Law Division: Monmouth County
      71 Monmouth Park
      P.O. Box 1266
      Freehold, New Jersey 07728-1266

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        Tinton Falls, New Jersey 07753-7308

 PLEASE TAKE NOTICE that the case previously pending in the

Superior Court of New Jersey, Monmouth County, Law Division,

Civil Part, at Docket No. MON-L-973-12, is hereby removed by

defendant Monmouth Family Health Care Center, Inc., and

substituted defendant United States of America, by the

undersigned attorney, to the United States District Court for the

District of New Jersey, pursuant to 28 U.S.C. § 2679(d)(2) and 42

U.S.C. §233( c). The grounds for this removal are:

        1.   Plaintiffs, Ashley Gremminger and Julio Cezar Rivas,

filed a complaint in the Superior Court of New Jersey, Law

Division, Monmouth County on March 2, 2012, docketed at MON-L-

973-12.      Plaintiffs allege that defendants Monmouth Family Health

Care Center, Inc., Monmouth Medical Center, Natalya P. Kugay,

M.D., Maranatha Lougheed, M.D. and John Does, provided

inappropriate prenatal care and treatment, which resulted in Ms.

Gremminger’s delivery of a stillborn female fetus on March 5,

2010.    Plaintiffs seek monetary damages.

        2.   A true and correct copy of the Complaint and Summons


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provided to my office by the United States Department of Health

and Human Services is attached hereto at Exhibit 1.

     3.   A true and correct copy of the Answer filed in Superior

Court by defendants Monmouth Medical Center, Natalya P. Kugay,

M.D., and Maranatha Lougheed, M.D., which was provided to my

office by the attorneys for those defendants, is attached at

Exhibit 2.

     4.   Attorneys representing defendant Monmouth Family Health

Care Center, Inc., answered the Complaint in Superior Court.    My

office does not possess a copy of the Answer filed on behalf

defendant Monmouth Family Health Care Center.

     5.   The attorneys representing defendants Monmouth Medical

Center, Natalya P. Kugay, M.D., and Maranatha Lougheed, M.D., and

the attorneys who filed the Answer on behalf of Monmouth Family

Health Care Center, Inc., in Superior Court consent to the

removal of this matter to District Court.

     6.   Pursuant to the Federally Supported Health Centers

Assistance Act, 42 U.S.C. § 233, the Secretary of Health and

Human Services deemed Monmouth Family Health Care Center, Inc.,

eligible for coverage under the Federal Tort Claims Act (“FTCA”),

28 U.S.C. §§ 1346, 2401(b), 2671-80.

     7.      The FTCA provides that a suit against the United States

shall be the exclusive remedy for persons with claims for damages

resulting from the negligent or wrongful acts or omissions of


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federal employees taken within the scope of their office or

employment.   28 U.S.C. § 2679(b)(1). Federal District Courts have

exclusive jurisdiction over claims brought pursuant to the FTCA.

28 U.S.C. § 1346(b)(1).

     8.    The FTCA provides that, upon certification by the

Attorney General that a federal employee was acting within the

scope of his office or employment at the time of the incident out

of which a state law claim arises, any civil action arising out

of the incident commenced in State court shall be shall be deemed

an action against the United States, and the United States shall

be substituted as the sole defendant with respect to those

claims.   28 U.S.C. § 2679(d)(2).       The Federally Supported Health

Centers Assistance Act includes a similar provision.       See 42

U.S.C. § 233( c).   The Attorney General has delegated

certification authority to the United States Attorneys.       28

C.F.R. § 15.4.

     9.   In a Certification of Scope of Employment, James B.

Clark III, Assistant U.S. Attorney and Chief of the Civil

Division of the U.S. Attorney’s Office for the District of New

Jersey, certified that at the time of the conduct alleged in the

Complaint, the Monmouth Family Health Care Center, Inc., was

covered under the FTCA, the Monmouth Family Health Care Center,

Inc., was deemed to be an employee of the United States and the

Monmouth Family Health Care Center, Inc., and its employees were


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acting within the scope of their employment as deemed employees

of the United States.    Mr. Clark’s Certification is attached

hereto at Exhibit 3.

     10.     Accordingly, the Complaint may be removed to this Court

pursuant to 28 U.S.C. § 2679)d)(2), which provides the following:

                  Upon certification by the Attorney
             General that the defendant employee was
             acting within the scope of his office or
             employment at the time of the incident out of
             which the claim arose, any civil action or
             proceeding commenced upon such a claim in a
             State court shall be removed without bond at
             any time before trial by the Attorney General
             to the district court of the United States
             for the district and division embracing the
             place in which the action or proceeding is
             pending.

28 U.S.C. § 2679(d)(2).

     11.     Additionally, the Complaint may be removed to this

Court pursuant to 42 U.S.C. § 233( c), which provides the

following:

                  Upon a certification by the Attorney General that
             the defendant was acting in the scope of his employment
             at the time of the incident out of which the suit
             arose, any such civil action or proceeding commenced
             in State court shall be removed without bond at any
             time before trial by the Attorney General to the
             district court of the United States of the district
             and division embracing the place wherein it is pending
             and the proceeding deemed a tort action brought against
             the United States under the provisions of Title 28 and
             all references thereto.

42 U.S.C. § 233( c).

     12.     Trial in the action at action at MON-L-973-12 brought

in the Superior Court of New Jersey, Law Division, Monmouth

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County, has not yet occurred.

     THEREFORE, in accordance with 28 U.S.C. § 2679(d)(2) and 42

U.S.C. § 233( c) the action at MON-L-973-12 brought in the

Superior Court of New Jersey, Law Division, Monmouth County is

now removed to this Court and the United States of America has

been substituted for defendant Monmouth Family Health Care

Center, Inc.

                                    Respectfully submitted,

                                    PAUL J. FISHMAN
                                    United States Attorney

                                    s/ J. Andrew Ruymann

                                    By: J. ANDREW RUYMANN
Dated: December 7, 2012             Assistant U.S. Attorney




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